                                                          cœ - s QFFIGEu : 7IST.X URT
                                                              v 3cHaPageid#:
Case 3:17-cv-00072-NKM-JCH Document 212 Filed 01/31/18 Page 1 of      ouiivlœ'  VA
                                                                              1097
                                                                                          FILED

                                                                                       1AN 3 l 2218
                                                                                  2U     C. U E%
                                                                                 BY;
    UMTED STATESDISTRICTCOURTFORTHEWESTERNDISTRICTOF 'i$
                                CH AR LO TTESV ILLE DIV ISIO N


    ELIZABETH SINES,ET AL.,                                   Case N o.3:17-cv-00072-NIfM

    Plaintiffs,                                               H on.Norm an K .M oon
    V.


    JASO N KESSLER,ET A L.,

    Defehdants.

                   M OTIO N TO DISM ISS BY DEFEN DANT M ICH AEL PEIN O VICH

            D efendantM ichaelPeinovich,Pro Se,m ovesthisHonor
                                                          A
                                                              able Courtto dism issPlaintiffs'

    AmendedComplaintpursuantto Fed.R.Civ.P.12(b)(6)forthereasonssetforth inhis
    M em oranduln in Support.




                                                              M ichaetPeinovich, Pro Se




   CERTIFICATE OF SERVICE


                                                                            :'
         Onthis26thday ofJanuary,2017,IM ichaelPeinovichcertify thatImailèd copiesofthis

   m elnorandum in supgortand the accom panying m otion to:



   A lan Levine
   Cooley LLP
   1114 Avenue ofthe Am ericas,46th Floor
Case 3:17-cv-00072-NKM-JCH Document 212 Filed 01/31/18 Page 2 of 3 Pageid#: 1098




    New York,N Y 10036

   ChristopherBradford G reene
   JulieEdeh Fink
   Roberta Ann K aplan
   Seguin Layton Strohm eier
   Kaplah &am p;Com pany,LLP
   350 Fifth Avenue,Suite 7110
   N ew York,N Y 10118

   D avid E.M ills
   Cooley LLP
   1299 PennsylvaniaAvenue,N W ,
   Suite 700
   W ashington,DC 20004

   Joshua Jam es Libling
   Philip M atthew Bow m an
   Yotam Barkai
   Boies SchillerFlexner,LLP
   575 Lexington Avenue,7th Floor
   New York,N Y 10022

   K aren Leah Dunn
   W illiam Anthony lsaacson
   Boies SchillerFlexner,LLP
   l401N ew York Avenue,N W
   W ashington,D C 20005

   RobertT.Cahill
   Cooley LLP
   1l951 Freedom Drive
   Reston,VA 20l90

   Elm erW oodard
   5700 US Hwy 29
   Blairs,VA 24527

   Justin Saunders G ravatt
   Duane,Hauck,D avis& Gravatt,P.C.
   l00 W estFranklin Street,Suite 100
   Richm ond,VA 23220
Case 3:17-cv-00072-NKM-JCH Document 212 Filed 01/31/18 Page 3 of 3 Pageid#: 1099




    Bryan Jeffrey Jones
    Bryan J.Jones,Attorney atlaw
    106 W .South Street,Suite 2lI
    Charlottesville,AA 22902




                                                M ichaelPeinovich
